                 IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE DIVISION
                             3:02cr94-4 & -20

UNITED STATES OF AMERICA,                       )
                                                )
                                                )
Vs.                                             )             ORDER
                                                )
JAVIER URIBE-DELGADO; and                       )
ALVARO SANTANA-GONZALEZ,                        )
                                                )
                 Defendants.                    )
_______________________________                 )

      THIS MATTER is before the court on the government’s Motion to Dismiss. Having

considered the government’s motion and reviewed the pleadings, the court enters the

following Order.



                                        ORDER

      IT IS, THEREFORE, ORDERED that the government’s Motion to Dismiss (#511)

is GRANTED, and the indictment in this case is dismissed without prejudice as to the above

named defendants.




                                            Signed: September 15, 2011




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